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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                            Case No. 1:20-cv-20079-SINGHAL/LOUIS


   BRUCE MUNRO, et al.,

              Plaintiffs,

   v.

   FAIRCHILD TROPICAL BOTANIC
   GARDEN, INC., et al.,

              Defendants.


             DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFFS’
               MOTION FOR SANCTIONS FOR SPOLIATION (DE [153])
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          More than 100 days after the close of discovery and 500 days since the filing of this

   lawsuit, Plaintiffs for the first time seek Court intervention regarding conduct that occurred in

   January 2020 when Kilburn Live/NightGarden LLC concluded the season 2 NightGarden event

   at Fairchild Tropical Botanic Garden (“Fairchild”) and disassembled and stored its attractions as

   a matter of course and contractual obligation. Though Plaintiff Munro filed this lawsuit prior to

   the conclusion the NightGarden, he took no steps in this litigation to require Fairchild or the

   Kilburn Defendants 1 to maintain its two-dozen acres of public, outdoor winter light installations

   in statis for purposes of this litigation. He did not request that Defendants 2 permit him to inspect

   the event or to maintain the expansive display as is. He also did not enlist the Court’s assistance

   in obtaining either an inspection or injunction against disassembly and storage. In fact, Plaintiff

   Munro sent his U.S. publisher, Gregory Sharp, to inspect the NightGarden prior to filing this

   lawsuit. On Plaintiff’s behalf, the inspector took pictures and videos of the event while it was

   open to the public, presumably for the purpose of preparing the complaint. 3 (DE [1], [69], figs.

   27-29, 31-35) (depicting photographs from Plaintiff’s presuit inspection of the NightGarden).

          Defendants did nothing surreptitious in disassembling and storing the NightGarden. The

   concluding date was no secret, and anyone visiting Fairchild after the event concluded could

   have gleaned the displays were put away. But in May 2020, Defendants explicitly informed


   1
     The “Kilburn Defendants” for purposes of this motion are Kilburn Live, Kilburn Media, and
   NightGarden, LLC. Max Painter and his Imaginer companies did not receive any pre-suit notice
   from either Plaintiff and were not joined into this lawsuit until long after the NightGarden event
   concluded and was stored. Accordingly, it is unclear why Plaintiffs seek relief at all against these
   Defendants, though Plaintiffs’ general pattern is to fail to differentiate the conduct among the
   various Defendants.
   2
     The term “Defendants” excludes Defendant Zhongshan G-Lights Lighting Co., Ltd.
   3
     The initial complaint (filed prior to the closing of the second season of the NightGarden)
   includes photographs taken from inside the event. Nothing prevented Plaintiffs’ inspector/
   photographer from taking photographs or videos of the event.




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   Plaintiff Munro 4 that the lights at issue in this litigation were in storage in a California

   warehouse. (See, e.g., DE [157-6] at 5, Request No. 10) (explaining in May 2020 that

   NightGarden installations were available for inspection in a warehouse in Commerce,

   California); (DE [157-5] at 4-5, Interrogatory No. 7) (indicating in November 2020 that

   NightGarden was removed in January 2020). Because of the pandemic, exemplar lights were

   ultimately shipped to defense counsel’s offices in Florida, where Plaintiff’s counsel was

   permitted four hours to inspect and photograph/videotape them. 5

          This case is about whether the NightGarden used individual lights that are substantially

   similar to Plaintiffs’ lights and whether Defendants violated the DMCA in failing to attribute

   their lights to Plaintiffs. 6 In their motion, Plaintiffs complain that they are “unable to view and

   inspect the infringing work,” and do not have the “ability to walk through the installation” (see

   DE [153]) at 5, 7.) They claim the routine disassembly of the NightGarden constituted spoliation

   and ask the Court to sanction all Defendants in the form of dismissal of certain defenses and

   judgment pertaining to the NightGarden season two. 7

                                             ARGUMENT

          What Plaintiffs really seek – without conferral – is to untimely litigate discovery disputes

   they failed to raise at an appropriate time. 8 They also inappropriately claim spoliation of items



   4
     The studio Plaintiff was not added to this action until the amended complaint was filed in July
   2020.
   5
     Plaintiffs’ counsel concluded its inspection in under an hour. Likewise, Plaintiffs’ lights were
   shipped to counsel’s office for inspection in Florida.
   6
     This case is not about any particular arrangement of the lights, as Munro testified, he is not
   claiming any defendant copied the arrangement of any Munro installation of these same lights.
   (Statement of Material Facts “SOF” (DE [146]) ¶ 30; Deposition of Bruce Munro (DE [149-1])
   at 23:8-24:7)(“Munro Dep.”).
   7
     The Motion cannot pertain to season 1 of the NightGarden because it was disassembled and
   stored for season 2 long before Plaintiffs sent their demand letter or filed suit.



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   that were not spoliated and that Defendants had no obligation to preserve as they were on display

   at Fairchild. But even if Defendants should have kept season 2 NightGarden on display in its full

   20-acre plus glory during the pendency of this lawsuit, there exists no justification for sanctions,

   much less the severe sanctions sought by Plaintiffs, against any Defendant because Plaintiffs

   cannot show prejudice, importance, bad faith or potential abuse.

        I.      Plaintiffs Failed to Confer about the Motion

             Plaintiffs violated Rule 7.1, S.D. Fla. Local Rules by failing to confer prior to filing this

   motion. They did not even attempt to do so, so it is unsurprising the Motion does not include the

   certification required by Local Rule 7.1(a)(3). “Failure to comply with the requirements of this

   Local Rule may be cause for the Court to grant or deny the motion and impose on counsel an

   appropriate sanction, which may include an order to pay the amount of the reasonable expenses

   incurred because of the violation, including a reasonable attorney’s fee.” S.D. Fla. L.R. 7.1(a)(3).

   Defendants request an order requiring Plaintiffs to pay the amount of the fees they have incurred

   in responding to the Motion.

       II.      Plaintiffs’ Motion is Untimely.

                Were Plaintiffs serious about this Motion, they would have sought relief in January

   2020—before the event ended—or during discovery a year ago when Defendants informed

   Plaintiffs the NightGarden installations were in storage in California. Instead, having received




   8
     Plaintiffs have been warned before about their dilatory tactics and their untimeliness. See (DE
   [106]) (“Plaintiffs’ dilatory tactics will not be condoned in this case”); (DE [124] at 4) (“All of
   the disputes raised by Plaintiffs are issues that could have—and should have—been identified
   and addressed long before the close of discovery”); (DE [160] at 3) (denying motion to compel
   as “untimely”);(DE [169]) (“why did Plaintiffs wait 16 days to file this 33 page motion but
   expect a response and a ruling within five days? The question is rhetorical and requires no
   answer. The Court will not tolerate such tactics”).



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   Defendants’ May 2020 discovery responses explicitly indicating that the NightGarden

   components were shipped to California for secure storage, Plaintiffs did nothing.

          In August 2020, the parties referenced in their Joint Motion to Amend Scheduling Order

   that Plaintiffs intended to request delivery of NightGarden “tangible works” or “tangible items”

   from California to Florida and was silent as to the event as a whole, raising no concern with the

   Court that the NightGarden was no longer on display at Fairchild. (DE [74] at 3 ¶ 6.) In

   September/October 2020, Defendants requested to inspect Plaintiffs’ lights and, when Plaintiffs

   insisted that Defendants travel to the UK to see them, Defendants timely sought court relief via

   discovery hearings to inspect Plaintiffs’ physical lights here in Florida. (See Orders at DE [82,

   87].) Despite frequent discussion of the inspection of both sides’ lights, at no time before the

   Motion did Plaintiffs lodge any formal complaint about the fact that Defendants had

   disassembled and stored the lights at issue or make any request of this Court in that regard.

          Thereafter, in November 2020 Plaintiffs inexplicably served a request for inspection of

   the NightGarden, in response to which Defendants again explained that such an inspection was

   impossible, as the event had concluded 11 months prior. See, e.g., Kilburn Live, NightGarden

   and Fairchild’s Responses to Plaintiffs’ Request for Entry and Inspection dated November 5,

   2020, attached as Composite Exhibit 1. And again, Plaintiffs did nothing with these responses.

          In December, after Plaintiffs requested that one of each of the physical components be

   shipped to Florida, Defendants listed the light components available for inspection, and shipped

   the light components from California to Florida. See email regarding components made available

   for inspection at Exhibit 2. Plaintiff’s Florida counsel then inspected them on February 17, 2021

   without incident. See Plaintiffs’ Notice of Inspection, attached as Exhibit 3.




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          Like the remainder of Plaintiffs’ recent filings, this Motion is a cloaked discovery motion

   that “could have—and should have—been identified and addressed long before the close of

   discovery.” (DE [124] at 4.) It is untimely. Courts in this district and others routinely deny such

   motions where the moving party sits idly by for months (or in this case, more than a year). See

   Haney v. PGA Tour, Inc., No. 19-CV-63108, 2021 WL 535366, at *2 (S.D. Fla. Feb. 13, 2021)

   (denying an untimely discovery motion where the parties waited several months before bringing

   the dispute before the court); Kendall Lakes Towers Condominium Assoc. Inc. v. Pacific Ins. Co,

   Ltd., 2011 WL 6190160 (S.D. Fla. Dec 2, 2011)(seeking discovery sanction without seeking

   preliminary relief runs afoul of SDFL Local Rule 26.1); See Scalia v. Cty. of Kern, No.

   117CV1097NONEJLT, 2020 WL 5959905, at *6-7 (E.D. Cal. Oct. 8, 2020) (denying motion

   because of nine-month delay and collecting cases denying motions for spoliation after close of

   discovery); Ferrone v. Onorato, No. CIV.A. 05-303, 2007 WL 2973684, at *10 (W.D. Pa. Oct.

   9, 2007), aff’d, 298 F. App’x 190 (3d Cir. 2008) (denying an untimely spoliation motion that

   should have been redressed “through an appropriate discovery motion”); Cottle-Banks v. Cox

   Commc’ns, Inc., No. 10CV2133-GPC WVG, 2013 WL 2244333, at *16 (S.D. Cal. May 21,

   2013) (spoliation motions “should be filed as soon as reasonably possible after discovery of the

   facts that underlie the motion”) (rejecting spoliation motion filed almost nine months after

   plaintiff knew facts and outside 30-day discovery deadline); Mahboob v. Educ. Credit Mgmt.

   Corp., No. 15-CV-0628-TWR-AGS, 2021 WL 791853, at *2 (S.D. Cal. Mar. 1, 2021) (denying a

   spoliation motion, in part, as untimely due to 30-day discovery deadline). This case has been no

   different (See DE [106, 107, 124, 160]).

          At the latest, Plaintiffs knew that the installations were in storage in California in May

   2020, yet they sat idly by for almost a year, while finding time to serve other repeated and




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   lengthy discovery requests and even inspecting the lights at issue at counsel’s office without

   seeking relief from the Court for purported spoliation. Plaintiffs’ delay is unjustified, and the

   motion should be denied on this ground alone. See (DE [124] at 4) (citing United States v.

   Marder, No. 1:13-CV-24503-KMM, 2016 WL 2897407, at *4 (S.D. Fla. May 18, 2016) (noting

   that a party “cannot just stand idly by and wait” to resolve a discovery dispute); see also (DE

   [160]) (enforcing Local Rule 26.1(g)(1) to deny Plaintiffs’ untimely discovery motion).

   III.   Spoliation Sanctions are not Warranted in this Case.

          Notwithstanding the lack of conferral and untimeliness of the Motion, Plaintiffs cannot

   prevail on the merits of their Motion. No spoliation has occurred.

          Spoliation is defined as “the intentional destruction, mutilation, alteration, or

   concealment of evidence.” Jetport, Inc. v. Landmark Aviation Miami, LLC, No. 1:16-CV-23303-

   UU, 2017 WL 7732869, at *2 (S.D. Fla. July 24, 2017); Tesoriero v. Carnival Corp., 965 F.3d

   1170, 1184 (11th Cir. 2020), cert. denied, No. 20-1104, 2021 WL 1520816 (U.S. Apr. 19, 2021).

   The party seeking spoliation sanctions must prove that (1) missing evidence existed at one time,

   (2) the alleged spoliator had a duty to preserve evidence, and (3) the evidence was crucial to the

   movant being able to prove its prima facie case. Jetport, Inc. 2017 WL 7732869, at *2. Even if

   all three elements are met, “[a] party’s failure to preserve evidence rises to the level of

   sanctionable spoliation ‘only where the absence of that evidence is predicated on bad faith,’ such

   as where a party purposely loses or destroys relevant evidence.” Id.

          If the movant can meet this burden, then Courts consider the following relevant factors

   when determining whether to impose sanctions for spoliation: “(1) whether the party seeking

   sanctions was prejudiced as a result of the destruction of evidence and whether any prejudice

   could be cured, (2) the practical importance of the evidence, (3) whether the spoliating party




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   acted in bad faith, and (4) the potential for abuse if sanctions are not imposed.” Tesoriero, 965

   F.3d at 1184 (quoting ML Healthcare Servs., LLC v. Publix Super Mkts., Inc., 881 F.3d 1293,

   1307 (11th Cir. 2018)). Spoliation sanctions cannot be imposed for negligently losing or

   destroying evidence – only upon a finding of bad faith. Id. In the context of spoliation, “bad

   faith” generally means “destruction for the purpose of hiding adverse evidence.” Id. (quoting

   Guzman v. Jones, 804 F.3d 707, 713 (5th Cir. 2015)); Walter v. Carnival Corp., No. 09-20962-

   CIV, 2010 WL 2927962, at *2 (S.D. Fla. July 23, 2010)(denying motion for spoliation). Even

   when sanctions are warranted, dismissal is rare. See Flury v. Daimler Chrysler Corp., 427 F.3d

   939, 944 (11th Cir. 2005) (“Dismissal represents the most severe sanction available to a federal

   court” which “should only be exercised when there is a showing of bad faith and where lesser

   sanctions will not suffice”); see also Kaloe Shipping Co. v. Goltens Servs. Co., Inc., No. 06-

   22186-CIV, 2007 WL 9705867, at *2 (S.D. Fla. June 21, 2007), report and recommendation

   adopted, No. 06-22186-CIV, 2007 WL 9706012 (S.D. Fla. July 10, 2007) (finding dismissal

   inappropriate without a showing of bad faith and that lesser sanctions would not suffice).

   Plaintiffs cannot meet their burden, and their Motion should be denied.

          A.      Spoliation did not Occur

          First, no evidence is missing. As Plaintiffs have admitted in their Motion, the lights at

   issue are not “missing” because they were preserved and put in storage. Motion at 5. In fact,

   there is significant evidence related to the NightGarden. As mentioned, Plaintiffs sent their U.S.

   publisher Mr. Sharp to personally visit the NightGarden season two, in November 2019. Mr.

   Sharp was there for several hours, walked the entire Fairchild facility, and took photographs and

   videos of the event at Plaintiffs’ request. See Deposition of Gregory Sharp 68:15-70:24 (DE [174

   ]) excerpts attached as Exhibit 4; See Deposition of Jennifer Lewis 160:2-4 (DE [149-2] at 8)




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   excerpts attached as Exhibit 5; see also Munro Dep. 294:12-295:8, (DE [136](under seal)

   excerpts attached as Exhibit 6. The NightGarden was a public event, and Plaintiffs could have

   sent multiple representatives (or its Florida counsel) to attend the NightGarden as many times as

   they wished. In addition, Defendants produced a trove of photographs and videos of the event

   during discovery. 9

          Second, Defendants did not have a duty to leave the entire 20+ acre NightGarden intact

   for some indeterminate amount of time. At the outset, the Imaginer Defendants had no duty to

   preserve at all. E.g. Easterwood v. Carnival Corp., 2020 WL 6781742 *5 – 6 (S.D. Fla. Nov. 18,

   2020) (duty to preserve does not arise until litigation is pending or reasonably foreseeable and

   applies only to evidence within that party’s possession, custody or control). Max Painter and the

   two Imaginer companies were not copied on the demand letter (which did not request

   preservation in any event). (DE [148-18].) They were not added as parties to the lawsuit until

   July 2020, six months after the lawsuit was filed and the NightGarden was disassembled and

   stored. (DE [69].) Moreover, these lights do not belong to the Imaginer Defendants, and they did

   not participate in the disassembly or storage of the NightGarden components. See Imaginer and

   Painter Responses to Requests for Admission dated November 2, 2020, attached as Composite

   Exhibit 7. Accordingly, these defendants had no duty to preserve at all.

          As to the remaining defendants, Plaintiffs seek to extend their preservations obligations



   9
     Plaintiffs baselessly claim that “Defendants have refused to disclose the bulk of photographs in
   their possession” and “claim[ed] th[at] the photographs [of NightGarden] are irrelevant.” (DE
   [153] at 7-8.) Defendants produced many NightGarden videos and photographs at
   KILBURN582-589, 689-772 and 830-853, i.e., those in their custody, possession or control.
   They were not required to scour the internet for random strangers’ photographs and footage of
   the NightGarden, and nothing prevented Plaintiffs from taking the time to do that had they
   wished. In any event, any perceived issues with Defendants’ production are untimely and are not
   appropriately before the Court.



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   too far. Fairchild is a public, non-profit botanical garden open to the public. Plaintiffs’ request

   that the NightGarden be preserved indefinitely would be tantamount to complete disruption of

   normal business for Fairchild for an indeterminate amount of time while weather and other

   environmental conditions slowly erode and render worthless Kilburn Live’s light fixtures. Courts

   do not impose such disruptive duties with regard to preservation. See Chaparral Energy, L.L.C.

   v. JNB Trucking, L.L.C., No. CIV-12-94-R, 2012 WL 12859856, at *2 (W.D. Okla. Dec. 17,

   2012) (duty to preserve did not extend to keeping an expensive piece of equipment unrepaired

   and out of service indefinitely); see also McDonald v. ISK Biosciences, Inc., No. CIV.A. H-95-

   4730, 1997 WL 34479221, at *2 (S.D. Tex. Jan. 21, 1997) (no duty to “interrupt the operation of

   [defendant’s] plant, including the completion of its scheduled construction project” to preserve

   the layout of a room where an alleged assault occurred). See In re Delta/AirTran Baggage Fee

   Antitrust Litig., 770 F. Supp. 2d 1299, 1312 (N.D. Ga. 2011) (the “touchstone in evaluating a

   party’s preservation efforts is the party’s good faith and reasonableness”).

          Safeguarding items for later inspection by moving the evidence to storage is sufficient

   preservation. See Khaldei v. Kaspiev, 961 F. Supp. 2d 572 (S.D.N.Y. 2013) (moving boxes of

   photographs and negatives from an apartment to a storage locker does not amount to spoliation).

   This is true even if the items are disassembled but capable of reassembly. Orbit One Commc’ns,

   Inc. v. Numerex Corp., 271 F.R.D. 429, 444 (S.D.N.Y. 2010) (denying a motion for sanctions

   even though data was removed from a hard drive because the data was ultimately recovered and

   provided to counsel); see also Russ v. Berchtold Corp., No. 12-CV-24482-UU, 2013 WL

   12092524, at *1 (S.D. Fla. Dec. 23, 2013) (denying a motion for sanctions where a surgical lamp

   was reinstalled in product liability context because plaintiff failed to explain how reinstalling the

   lamp would destroy evidence crucial to any claims).




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          Here, the Kilburn Defendants acted reasonably when they dismantled, preserved, and

   safely stored the lights for later inspection. Plaintiffs inspected the reassembled lights, exactly in

   the working condition they appeared at the NightGarden. Defendants adequately discharged their

   duty to preserve.

          Finally, regarding the third prong, to warrant a spoliation sanction, a party must “show a

   significant impairment in the ability to prove their underlying case” and if evidence other than

   that which is alleged to have been destroyed exists, the spoliated evidence is not deemed to be

   crucial. Jetport, at *5. As listed above, significant evidence exists of the NightGarden displays.

   Plaintiffs took their own photos and videos. Defendants produced photos and videos. The

   internet also housed its own treasure trove of images of the NightGarden that Plaintiffs could

   have (and did) locate.

          Moreover, as explained in detail below (pp. 13-15, infra) Plaintiffs have not, and cannot,

   articulate any relationship between viewing the NightGarden again and proving their claims.

   Plaintiffs have admitted the arrangement of the lights is not relevant. In fact, Plaintiffs demand

   letter actually asked Kilburn and Fairchild to disassemble the exhibition and turn the lights over

   to Plaintiffs. (DE [148-18].) Their pre-suit request is at odds with their Motion filed 18 months

   later claiming that they must be able to walk the gardens to prove their claims. (Motion at 5.) 10

          Similarly, the NightGarden event has no bearing on the DMCA claim. Plaintiffs’ entire

   DMCA claim concerning the event signs is that they should have mentioned Munro. (DE [69] ¶


   10
      If selection and arrangement were at issue, Plaintiffs actually ask the Court to bless a double
   standard – one where Defendants would be obliged to preserve their exhibition as is and
   Plaintiffs would not. Indeed, many of the various displays of Munro’s lights were set at different
   gardens and venues that have long since been removed. Defendants have no ability to inspect
   Munro’s lights at Longwood Gardens, for instance, an exhibition that occurred in 2012 and is
   Plaintiffs’ purported registered work that is at issue in this lawsuit. (DE [153] at 4.)




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   149.) As detailed at length in Defendants’ Joint Motion for Summary Judgment (DE [145]),

   Plaintiffs’ DMCA claims are unfounded. Importantly, Plaintiffs do not own and did not create

   the works complained about. (See id. at 11); see also Munro Dep. 64:9-18 (DE [149-1] at 16.)

   The signs are no different. The NightGarden signs were directional in nature, prompting guests

   to enter, exit, or queue; and Kilburn Live’s corporate designee corroborated that fact. See

   NightGarden signs and related correspondence, attached as Composite Exhibit 8. See Deposition

   of Jonathan Sanford (“Sanford Dep.”) 171:12-172:11, (DE [139](under seal)), excerpts attached

   as Exhibit 9; see also Deposition of Max Painter 198:15-199:12 (DE [141](under seal) (recalling

   that light installations were not labeled or referenced on signage)), excerpts attached as Exhibit

   10. In addition to producing depictions of the signs, videos produced by Defendants show

   footage of the entire event and capture some of what limited signage there was. Their ability to

   hold or look at the basic signs in person has no bearing on that claim. This is not a question of

   whether the signs were physically defective or what material they were made from—the only

   pertinent questions are whether Munro’s name was on them (no) and whether that forms the

   basis for a real legal claim (also no). To conclude that Defendants had a duty to keep all the

   lights and “exit” and other similar signs up at Fairchild is unfounded.

          In sum, Plaintiffs have not demonstrated that relevant evidence is “missing,” that

   Defendants had a duty to preserve the NightGarden event in perpetuity, that the evidence is

   crucial to their claims or that spoliation otherwise occurred. No spoliation has occurred here.

          B. To the Extent Defendants Were Required to Preserve the Temporary
             NightGarden Event, Plaintiffs Cannot Otherwise Meet their Burden.

          Even if the Court finds that Plaintiffs’ request is timely and Defendants were required to

   do something more than safely store the light fixtures and make them available for inspection,

   Plaintiffs cannot meet their burden to demonstrate any sanctions are warranted.



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                  1. Plaintiffs Cannot Show Prejudice or Importance of the Evidence.

          Plaintiffs claim that their inability to view and count the lights and signs is prejudicial to

   their claims and affects their ability refute Defendants’ defenses and calculate their statutory

   damages. (DE [153] at 5, 8.) These arguments fail because (1) Plaintiffs inspected the

   NightGarden and lights; (2) Defendants produced invoices showing the number of lights

   purchased, maps, videos, correspondence and photographs of the event, (3) Defendants used the

   same “mushroom” lights in both seasons, as Plaintiffs very well know, and (4) the signs are not

   important to any cognizable claim.

           The Lights and Their Use are Quantifiable.

          Plaintiffs claim they cannot “determine the total number of infringements, or the

   supposed continuity of infringement from season to season.” (DE [153] at 5-6.) They claim that

   Defendants installed “new displays” and without seeing season two (again) in person, they are

   prejudiced. (DE [153] at 6.) This type of sweeping and conclusory argument is unsupported by

   both the law and record in this case.

          Starting with the issue of different or new displays, Plaintiffs seek statutory damages for

   an alleged work titled Forest of Light, which was registered with the U.S. Copyright Office after

   season one but before season two of NightGarden. (SOF DE [146] ¶¶ 8, 84.) As fully briefed in

   Defendants’ Motion for Partial Judgment on the Pleadings and their Joint Motion for Summary

   Judgment, Plaintiffs are not entitled to any statutory damages for season one under any theory

   and are also not entitled to statutory damages for season two because the alleged infringement is

   the same or similar as that of season one. 17 U.S.C. § 412; (DE [81, 89]); (DE [145] at 31-32.)

   As noted in those papers and in their Motion, Plaintiffs contend that the allegedly infringing

   lights from season one were altered or changed in season two. But even if that were true, it




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   would not affect Defendants’ defenses—changes or alterations would still bar Plaintiffs’

   statutory damages and fees claims. See, e.g., New Name, Inc. v. The Walt Disney Co., No. CV

   07-5034PA(RZX), 2008 WL5587487, at *5 (C.D. Cal. July 23, 2008) (alteration to work does

   not commence new infringement); Dyer v. Napier, No. CIV04-0408 PHX SMM, 2006 WL

   680551, at *4 (D. Ariz. Mar. 16, 2006) (changes in sizes and texture of sculptures does not start

   new commencement). More importantly, however, there were no alterations. Defendants

   provided evidence that the alleged infringing mushroom lights from season two were simply

   leftovers recycled and reused from season one. See SOF (DE [146]) ¶¶ 97-100.) Further, season

   one closed January 2019. Even though Plaintiffs, through a representative, did walk through

   NightGarden season two, the ability to do so again would not change the ultimate outcome or

   give them any insight on how lights were displayed or used in season one.

          Next, Plaintiffs’ arguments that they cannot quantify the number lights used is also

   without basis and unsupported by copyright law. Even if Plaintiffs were entitled to statutory

   damages (they are not), under the Copyright Act, Plaintiffs would only be entitled to statutory

   damages “per work” not by the number of the individual lights displayed. See Joe Hand

   Promotions, Inc. v. Phillips, No. 19-21723-CIV, 2020 WL 3404964, at *3 (S.D. Fla. June 19,

   2020); see also 17 U.S.C. § 504(c). As for actual damages, Plaintiffs make no claim in their

   Complaint that the number of lights is relevant, nor have they ever licensed any of their

   individual lights. See SOF (DE [146]) ¶ 107 (citing testimony that Plaintiffs have never licensed

   their lightbulbs). 11 Further, as explained in detail below, the number of lights used has no bearing



   11
      Plaintiffs’ proposed expert similarly conducted no analysis of any individual lights, nor did she
   tie her calculation to lights at the NightGarden at all. She instead calculated a straight average of
   a handful of Munro’s previous exhibition agreements without regard to what lights were
   displayed by Munro, the number of lights displayed, geographic size or other considerations. See
                                                                  [Footnote continued on next page…]


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   on Plaintiffs’ DMCA claim, because Defendants’ works are not Plaintiffs’ works. In any event,

   Defendants testified as to the number of at-issue lights used and provided invoices supporting

   those numbers. (DE [146] ¶¶ 98, 100, 102, 104-05.) Plaintiffs fixate on Jonathan Sanford’s

   testimony stating that he was not sure how many fiber lights were deployed in season two of

   NightGarden. (DE [153] at 6.) But Defendants had provided an invoice showing that 600 fiber

   lights were purchased for season two. (DE [146] ¶ 105.) In the absence of certainty, Plaintiffs

   would be expected to argue (although irrelevant for damage purposes) that Defendants should be

   liable for the full number of lights purchased.

          In chastising Defendants for taking down NightGarden, Plaintiffs rely on Oil Equip. Co.

   Inc. v. Mod. Welding Co. Inc., 661 F. App’x 646 (11th Cir. 2016) to support their proposition

   that photographs are not enough—despite having invoices, NightGarden maps, photographs,

   videos, extensive correspondence about the attractions and an opportunity to inspect the lights

   (DE [153] at 7.) But Oil Equipment did not create a per se rule that photographs could never be

   sufficient evidence. The court merely opined on the specific circumstances of that case

   “[w]ithout expressing any opinion on whether photographs could constitute an adequate

   substitute in another case based on different facts.” Oil Equip., 661 F. App’x at 656. That case

   involved an underground storage tank that began to leak. The court found prejudice because the

   tank was removed from the ground and pictures of the soil could not help someone determine

   “the soil compaction level of the bedding.” Id.; see also Flury, 427 F.3d at 946 (prejudice could

   not be cured because vehicle was destroyed and could not be examined). Again, the removal and

   storage of the lights does not prejudice Plaintiffs—Plaintiffs inspected them both while they



   Defendants’ Motion in Limine to Exclude Plaintiffs’ Damage Expert Xiliary Twil (DE [135];
   Deposition of X. Twil (DE [135-2] at 62:9-63:12; 70:3-6, 71:24-72:8).



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   were on display and in this litigation. The physical layout of the lights at NightGarden is not

   crucial to any claim because Plaintiffs are not enforcing any copyright over the arrangement of

   lights. (DE [149-1] at 23:8:19.) And Plaintiffs have testimony and evidence as to the locations,

   estimated square footage and number of lights used in both seasons. The same goes with event

   signage—their physical componentry is not at issue. Images of the signs are sufficient to

   demonstrate how they looked. See Ex. 8. As for Plaintiffs’ claims that they need to know the

   location or use of signage at NightGarden, that claim is without legal basis as set forth below.

         Keeping the Signage in Place at Fairchild is Not Important to Any Cognizable Claim.

          In essence, Plaintiffs claim that Defendants—despite not knowing or recalling who

   Munro was (see DE [145] at 22)—should have attributed him on all signage at NightGarden

   because some generic lights from China allegedly resemble Munro’s works. (DE [69] ¶¶ 149,

   176.) Plaintiffs do not claim that the signs resemble any Munro work. Instead, they claim that not

   including Munro’s name is a violation of the DMCA for each sign displayed at NightGarden. 12

   As explained in detail in Defendants’ Joint Motion for Summary Judgment (DE [145] 7-13), this

   claim is not recognized in the law. Specifically, CMI “removal” under the DMCA requires an

   affirmative act of removal from an original work, not a failure to attribute in relation to what

   Plaintiffs call “knock-offs.” (See id. at 8) (citing Frost-Tsuji Architects v. Highway Inn, Inc.,

   2014 WL 5798282 (D. Haw. Nov. 7, 2014); see also RAZ Imports, Inc. v. Regency Int’l Business

   Corp., 2020 WL 4500627 (N.D. Tex. Aug. 5, 2020) (dismissing a DMCA claim with prejudice


   12
     Plaintiffs also parrot the language of 17 U.S.C. § 1202 by saying they have to guess how many
   times CMI was “removed, falsified, altered or distributed.” Plaintiffs do not identify any CMI, or
   what CMI of theirs was removed, falsified, altered or distributed. Munro did not create the signs,
   there is no claim that the signs resemble any Munro work, and certainly Munro does not have
   (nor claim to have) any right to words like “exit” or “welcome.” And although the NightGarden
   contained no Munro works, there is also no CMI on Munro’s components that he installs in his
   actual displays. (DE [146] ¶¶41-42, 50-51.)



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   because merely failing to give attribution is not the same as “removing” CMI). Plaintiffs fatally

   concede that NightGarden is not their original work, and they had no part in creating or

   implementing the event. See, e.g., SOF (DE [146]) ¶¶ 88-89 (citing testimony from Munro that

   Plaintiffs had no role in the NightGarden event). Therefore, there is no cognizable claim here. If

   Plaintiffs believe that “viewing the signage as it was placed” at Fairchild is “of the utmost

   importance in this case” (DE [153] at 6), then they should have counted the directional signs

   while visiting the NightGarden during season two. There is no prejudice or practical importance

   because whether Plaintiffs could – or did – count the number or signs, the result is the same –

   they are irrelevant because there is no viable claim under the DMCA. Tesoriero, 965 F.3d at

   1183–84 (evidence must be crucial to movant’s ability to prove its case to establish spoliation).

          Further, the documents produced, and testimony provided unequivocally demonstrates

   that the signage did not mention the specific installations, but was “directional” in nature, such as

   informing guests how to enter or exit the event. See Ex. 8. Even if the law permitted Plaintiffs’

   theory, it certainly would not extend to attributing Munro on an “exit” sign.

                  2. Defendants Did Not Act in Bad Faith.

          Further, Plaintiffs have not met their high burden of showing that the removal of the

   temporary winter NightGarden event from Fairchild constitutes bad faith. Where, as here, there

   exists no direct evidence of bad faith, Plaintiffs must prove all of the following criteria: (1)

   evidence once existed that could fairly be supposed to have been material to the proof or defense

   of a claim at issue in the case; (2) the spoliating party engaged in an affirmative act causing the

   evidence to be lost; (3) the spoliating party did so while it knew or should have known of its duty

   to preserve the evidence; and (4) the affirmative act causing the loss cannot be credibly




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   explained as not involving bad faith by the reason proffered by the spoliator. Jetport, 2017 WL

   7732869, at *3, *7 (no spoliation where only negligence shown).

          Plaintiffs cannot meet any of the criteria. Plaintiffs have not argued any direct evidence

   of bad faith (nor is there any). Instead, Plaintiffs generally claim that lights were shipped out of

   state after some alleged notice, and there was no credible explanation for same. These sweeping

   allegations do not come close to meeting the high standard required of Plaintiffs. Nor can

   Plaintiffs meet such a standard in this case.

          First, as explained in detail above, counting the number and placement of lights and

   signage is immaterial to Plaintiffs’ claim. Plaintiffs have admitted that the case is not about the

   arrangement of the lights and they have inspected the event and actual lights at issue. Their

   contention that they need to (again) count the signage and lights in situ at Fairchild is not

   supported by the facts or the law.

          Second, Defendants never caused evidence to be lost. As Plaintiffs recognize in their

   Motion (DE [153] at 8), the lights were merely transported off-site, and then later sent back to

   Florida for Plaintiffs’ inspection. As for Plaintiffs’ position that the layout of NightGarden was

   lost, as stated above, that contention is immaterial, and either way Plaintiffs sent a representative

   to Fairchild to observe and catalog the event, and Defendants produced a trove of pictures and

   videos of the event.

          Third, Defendants were never “fully aware” of Plaintiffs’ desire to walk through the

   temporary NightGarden event, which all parties knew was pre-scheduled to end on a date

   certain. Tesoriero, 965 F.3d at 1185 (quoting Flury, 427 F.3d at 945). In Flury, the plaintiff was

   “fully aware the defendant wished to examine the vehicle” at issue but ignored a request to

   examine it. Flury, 427 F.3d at 945. On the other hand, in Tesoriero—which involved a broken




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   chair on a Carnival cruise ship—the chair was disposed of consistent with Carnival’s policies for

   broken items and the record showed that the plaintiff had not requested that Carnival save the

   chair from destruction. Tesoriero, 965 F.3d at 1185. This case is analogous to Tesoriero. Here,

   Defendants could not have anticipated that a walk-through was necessary in a claim involving

   the shape and design of generic light bulbs. And Plaintiffs never requested that Defendants

   preserve the event. Instead, they buoy their previous arguments that Defendants were on notice

   of Plaintiffs’ claims because some of them received the presuit letter “outlining the allegations of

   infringement and CMI violations” as well as service of the initial Complaint. (DE [153] at 9.)

          But the presuit letter did not address the fiber lights, Plaintiffs’ unsupported view of the

   DMCA nor ever referenced CMI. 13 Instead it asked Defendants to “remove the offending

   portions from the NightGarden exhibition” and to send the lights to Munro. (DE [148-18])

   (emphasis added). Plaintiffs explicitly requested destruction – not preservation – of the light

   displays. Had Defendants complied with Plaintiffs’ pre-suit demand, compliance would itself

   have caused the very same “spoliation” Plaintiffs now complain about. Only later in the case did

   Plaintiffs reveal their objection to the disassembly of the event and desire to walk through it, well

   after they were made aware it was taken down and the at-issue components shipped to storage. It

   can hardly be considered bad faith for the Kilburn Defendants to do exactly what Plaintiffs

   requested that they do (remove the lights from the NightGarden).

          Last, Plaintiffs have proffered no evidence that Defendants removed NightGarden from

   Fairchild “for the purpose of hiding adverse evidence” favorable to Defendants. Tesoriero, 965

   F.3d at 1184; see also Calixto v. Watson Bowman Acme Corp., No. 07-60077-CIV, 2009 WL



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     And the initial complaint related to the individual light designs and spoke of CMI claims
   generally. (See DE [1].)



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   3823390, at *16 (S.D. Fla. Nov. 16, 2009) (concluding that bad faith can be established by

   circumstantial evidence only when the “act causing the loss cannot be credibly explained as not

   involving bad faith by the reason proffered by the spoliator”). Instead, there is a reasonable

   explanation for removing NightGarden—the event had a scheduled ending date and maintaining

   a pop-up light show at a nonprofit botanical garden indefinitely would ruin its business. See

   Chaparral Energy, 2012 WL 12859856, at *2 (duty to preserve did not extend to keeping an

   expensive piece of equipment unrepaired and out of service indefinitely); In re Delta/AirTran

   Baggage Fee Antitrust Litig., 770 F. Supp. 2d at 1312 (the “touchstone in evaluating a party’s

   preservation efforts is the party’s good faith and reasonableness”). Further, the closure and

   removal of NightGarden attractions was pre-scheduled and occurred as a matter of course, just

   like season one. See Ex. 9, Sanford Dep. 243:16-245:1 (explaining that removal of the event was

   scheduled far in advance and normal protocol). Plaintiffs have not shown how Defendants’ pre-

   arranged closure of NightGarden amounts to bad-faith conduct, especially where the light bulbs

   at issue were preserved. For these reasons, Plaintiffs have not met their high burden.

                  3. There is No Potential for Abuse.

          Plaintiffs summarily claim that there is a potential for abuse absent sanctions because

   only Defendants can present evidence regarding the similarities between seasons one and two,

   the number of lights displayed, and the number of CMI violations. (DE [153] at 9); see Flury,

   427 F.3d at 946; see also Nat’l Grange Mut. Ins. Co. v. Hearth & Home, Inc., No. CIV.A.

   2:06CV54WCO, 2006 WL 5157694, at *6 (N.D. Ga. Dec. 19, 2006) (the judicial concern for

   potential for abuse is “trial by ambush”).

          The NightGarden season one was deconstructed in January 2019 (well before Plaintiffs

   sent a demand), and despite the fact that there was no requirement to preserve materials from that




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   season, Defendants did so. Indeed, Defendants provided the actual mushroom lights (as re-used

   in season two), testimony, photographs, videos, invoices and correspondence from season one.

   Simply put, in-person comparisons related to season one could never occur, regardless of the

   installation status of season two, because Plaintiffs did not complain until long after season one

   was over. As to Plaintiffs’ claims regarding counting each light, Plaintiffs could have done so

   during its own inspection. Regardless, Defendants provided evidence and discovery regarding

   approximate acreage and number of lights used in each season (mushrooms) and how many

   lights were ordered (mushrooms and fiber lights). Last, as noted above, Plaintiffs’ CMI theory is

   entirely unfounded. The number of directional NightGarden signs is irrelevant and cannot affect

   Plaintiffs’ claim.

                                           CONCLUSION

           The Court should deny Plaintiffs’ Motion for failure to confer and as untimely. Plaintiffs

   learned about the relocation of NightGarden installations at the latest in May 2020. Their failure

   to address any perceived spoliation then is fatal. To the extent the Court finds that the Motion is

   timely, Defendants had no duty to preserve the NightGarden experience because Plaintiffs’

   claims are unrelated to the physical layout of the lights. Even if there was a duty to preserve the

   event layout, Plaintiffs have not and cannot meet their burden to demonstrate the importance of

   the layout, any prejudice, bad faith, or potential for abuse. They cannot show any rational need to

   undertake further physical examination of the layout of NightGarden. The Motion should be

   denied, and Defendants should be awarded their fees.

   Dated: May 28, 2021.




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                                      Respectfully Submitted,

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